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                      IN THE UNITED STATES COURT OF APPEALS
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT
_________________________________________
                                                )
ELK GROVE VILLAGE, ILLINOIS ,                   )
                                                )
      Petitioner,                               )
                                                )
v.                                              )       Case No. 23-1283
                                                )
FEDERAL AVIATION ADMINISTRATION                 )
and POLLY TROTTENBERG, Acting                   )
Administrator, Federal Aviation Administration, )
                                                )
      Respondents.                              )
                                                )
_________________________________________ )


                     PETITION FOR REVIEW OF AGENCY ORDER

       Petitioner, Elk Grove Village (“Village”) hereby petitions this Court, pursuant to 49 U.S.C.

§ 46110, 5. U.S.C. § 702, and Federal Rule of Appellate Procedure 15, for review of the Federal

Aviation Administration (“FAA”) order and final action denying, without explanation, the

Village’s request that FAA analyze reasonable alternatives to the proposed action at Chicago

O’Hare International Airport (“O’Hare”) in FAA’s National Environmental Policy Act (“NEPA”)

environmental analysis. The FAA order and final action is a letter dated August 31, 2023

addressed to Elk Grove Village Mayor Craig Johnson (the “August 31, 2023 FAA Order” or

“Order”), a copy of which is attached as Exhibit A.

       1.     In June 1997, the City of Chicago implemented the Fly Quiet Program at O’Hare

(the “O’Hare Fly Quiet Program”), a series of voluntary noise abatement flight and operating

procedures designed to reduce the impact of aircraft noise during the nighttime hours. The Fly

Quiet Program was developed in collaboration with FAA, airport users, and the O’Hare Noise
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Compatibility Commission (“ONCC”), an inter-governmental agency comprised of certain

communities and school districts surrounding O’Hare.

       2.      In 2015, following implementation of a runway modernization and expansion

project, ONCC formed a Fly Quiet Committee (“Committee”) to develop permanent modifications

to the O’Hare Fly Quiet Program. The Committee developed seven criteria for evaluating

proposed alternatives for the new O’Hare Fly Quiet Program.          After considering multiple

alternatives, the Committee presented only one preferred option for the permanent O’Hare Fly

Quiet Program—Alternative B—to the full ONCC membership, even though Alternative B did

not meet the seven criteria. This was over the objection of certain members of the ONCC, as well

as several non-members such as the Village, who had recommended another alternative, which

was one of the two final alternatives under consideration by the Committee—Alternative H.

       3.      By letter dated June 15, 2023 (the “June 15, 2023 Letter”), addressed to ONCC and

copied to the Chicago Department of Aviation (“CDA”), the Village, through the Suburban O’Hare

Commission (“SOC”), a coalition of 11 communities most significantly impacted by nighttime

aircraft operations at O’Hare, requested that CDA submit both Alternatives B and Alternative H

to the FAA, rather than only proposing Alternative B. The letter provided analysis and data to

support SOC’s recommendation, including explaining that Alternative H meets all seven of

ONCC’s criteria, and explaining that Alternative H outperforms Alternative B when considering

environmental justice outcomes. ONCC and CDA did not respond to SOC’s letter. A copy of the

June 15, 2023 Letter is attached as Exhibit B.

       4.      On July 27, 2023, the CDA proposed a single alternative, Alternative B, to the FAA

for review. On information and belief, FAA is currently reviewing CDA’s proposed Alternative

B.


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        5.      By letter dated August 8, 2023, the Village, through SOC, requested that FAA

consider Alternative H alongside Alternative B and perform a heading-sensitivity analysis when

performing its NEPA-required environmental analysis of CDA’s proposed modified Fly Quiet

Program (the “August 8, 2023 Letter”). A copy of the August 8, 2023 Letter is attached as

Exhibit C.

        6.      In a letter dated August 31, 2023, FAA issued the August 31, 2023 FAA Order

responding to SOC’s August 8, 2023 Letter by directing SOC to “coordinate input through CDA”

but providing no explanation of the basis for its denial. The Village’s prior attempts had already

proven that this avenue was futile. FAA’s Order thus constructively denied SOC’s request and, as

such, was a final determination and a reviewable “order” under 49 U.S.C. § 46110(a).

        7.      Petitioner asks this Court to set aside FAA’s Order as arbitrary and capricious, an

abuse of discretion, or otherwise not in accordance with law. Petitioner further asks this Court to

require FAA to consider alternatives to CDA’s proposed Alternative B in its NEPA evaluation of

the O’Hare Fly Quiet Program, including considering Alternative H, as well as conduct a heading-

sensitivity analysis.

 Dated October 9, 2023                               Respectfully submitted,


                                                     /s/Christopher Neumann
                                                     Christopher Neumann
                                                     Andrew Barr*
                                                     Gregory R. Tan*
                                                     1144 15th Street, Suite 3300
                                                     Denver, CO 80202
                                                     Phone: 303.572.6500
                                                     Email: neumannc@gtlaw.com
                                                     Email: Andrew.Barr@gtlaw.com
                                                     Email: Gregory.Tan@gtlaw.com

                                                  Counsel for Elk Grove Village
*Petition for admission to this Court forthcoming.

                                                 3
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                      IN THE UNITED STATES COURT OF APPEALS
                       FOR THE DISTRICT OF COLUMBIA CIRCUIT
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                                                )
ELK GROVE VILLAGE, ILLINOIS ,                   )
                                                )
      Petitioner,                               )
                                                )
v.                                              )
                                                )
FEDERAL AVIATION ADMINISTRATION                 )
and POLLY TROTTENBERG, Acting                   )
Administrator, Federal Aviation Administration, )
                                                )
      Respondents.                              )
                                                )
_________________________________________ )


                         CORPORATE DISCLOSURE STATEMENT

       The Petitioner, Elk Grove Village, is a municipal government body under the laws of

Illinois and not a “nongovernmental corporate party,” and therefore it is not required to file a

disclosure statement pursuant to Fed. R. App. P. 26.1 and Circuit Rule 26.1.

 Dated October 9, 2023                             Respectfully submitted,


                                                   /s/Christopher Neumann
                                                   Christopher Neumann
                                                   Andrew Barr*
                                                   Gregory R. Tan*
                                                   1144 15th Street, Suite 3300
                                                   Denver, CO 80202
                                                   Phone: 303.572.6500
                                                   Email: neumannc@gtlaw.com
                                                   Email: Andrew.Barr@gtlaw.com
                                                   Email: Gregory.Tan@gtlaw.com

                                                   Counsel for Elk Grove Village


*Petition for admission to this Court forthcoming.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 9, 2022, I caused file-stamped copies of the foregoing

Petition for Review and Corporate Disclosure Statement to be sent to the following parties in the

by Certified Mail, Return Receipt Requested:

               Federal Aviation Administration
               Office of the Chief Counsel
               800 Independence Avenue, S.W.
               Washington, DC 20591

               The Honorable Merrick B. Garland
               Attorney General of the United States
               U.S. Department of Justice
               950 Pennsylvania Ave., NW
               Washington, DC 20530-0001

       Pursuant to 15 U.S.C. § 2618(a)(2), the Clerk of the Court is respectfully requested to

transmit this petition for Review to the Federal Aviation Administration and the Attorney

General of the United States.

October 9, 2023                                     /s/Christopher Neumann
                                                    Christopher Neumann
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                            EXHIBIT A
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                                                                     Great Lakes Region
                                                                     2300 East Devon Avenue
                                                                     Des Plaines, IL 60018




August 31, 2023


Mayor Craig B. Johnson
Chairman, SOC
901 Wellington Avenue
Elk Grove Village, IL 60007

Dear Mayor Johnson:

Thank you for your letter dated August 8, 2023 and the Suburban O’Hare Commission’s (SOC)
input on addressing aircraft noise through the FlyQuiet Program.

The FAA remains committed to working on addressing aircraft noise concerns from communities
around Chicago O’Hare International Airport. As you are aware, the Chicago Department of
Aviation (CDA) and communities represented by the O’Hare Noise Compatibility Commission
(ONCC) are developing a nighttime FlyQuiet proposal.

After providing feedback to CDA on an initial FlyQuiet proposal received on December 27, 2022,
we are currently reviewing an updated proposal submitted to the FAA by CDA on July 27, 2023.
While we appreciate the input and suggestions provided in your letter, we kindly suggest that the
SOC coordinate input through CDA.

I hope you find this information helpful. If you would like additional details or have questions,
please feel free to reach back to my office’s Community Engagement Officer, Nitin Rao at: 847-
294-7375 or Nitin.Rao@faa.gov.

Thank you,




Erik W. Amend
Regional Administrator
Great Lakes Region



CC:    Jamie Rhee, CDA
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                            EXHIBIT B
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                SUBURBAN O’HARE COMMISSION
   Nunzio Pulice                          Craig B. Johnson                       Jeffrey Pruyn
   Vice-Chairman                            Chairman                          Secretary-Treasurer

       Addison, Bensenville, DuPage County, Elk Grove Village, Elk Grove Township
                 Hanover Park, Itasca, Roselle, Wood Dale, Schiller Park


June 15, 2023

Joseph Annunzio
ONCC Chair
jjannunzio@gmail.com

Karyn Robles
ONCC Fly Quiet Commitee Chair
krobles@schaumburg.com

Dear ONCC and Fly Quiet Commitee Members,

SOC, in conjunc�on with our team of avia�on experts, has reviewed the FAA leter dated May 3, 2023, from Joe
Miniace, ac�ng Regional Administrator of the FAA Great Lakes Region, regarding the Chicago Department of Avia�on
(CDA) the modernized Fly Quiet Program submital.

In their May 3rd leter, the FAA summarized its response to the Fly Quiet Submital as follows:




                                                                                                               1
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The input shared by the FAA in this leter provides an opportunity to improve upon the previous CDA Fly Quiet
Program submital.

Understanding the FAA Objec�on to Heading Assignments

Two na�onally recognized Air Traﬃc Control experts, Jim Krieger (ORD Air Traﬃc Control Tower Manager, Re�red)
and Craig Burzych (28-year ORD Air Traﬃc Controller and Union Representa�ve, Re�red), have repeatedly advised
SOC and the FQ Commitee of the following:

    1. A long runway op�on always has to be available.
    2. Air Traﬃc Control human resources are limited at night.
    3. Visibility is limited at night.
    4. Increased vigilance is required for non-aircra� vehicle and equipment ac�vity to control at night in
       addi�on to aircra�.
    5. If a voluntary program imposes safety risks, it will not be complied with.

The FAA rejected the proposed FQ Program recommended by the ONCC because the headings would put a
"departing aircraft in conﬂict with a potential missed approach on the parallel runway" separated by less than 2,500
feet. This safety concern applies to all RRP conﬁgura�ons that u�lize east-west parallel runways.

Designated runway headings were not tested in any of the four Fly Quiet test rota�on programs at O’Hare Airport.
The only speciﬁed departure headings used in any of these tests were turning departure paths for runways 28R and
22L, which have been used for many years. Furthermore, the FAA's previous review of the proposed conﬁgura�ons
used in the FQ RRP never included the use of runway headings, as oﬀered in Alterna�ves B3 and H3.

Heading assignments are the FAA's unique authority. The leap from mul�ple test RRPs with no designated headings
(except those following historic ﬂight paths) to one with mul�ple headings oﬀ all the east-west parallel runways
exceeds the tower's tolerance of what can be managed safely at night.

It should be noted that the ORD tower operates the airport with varying headings oﬀ parallel runways separated by
less than 2500 feet all day long and most nights. However, there are several factors allowing that, including but not
limited to:

    •    Controller discre�on of which heading to assign,
    •    Visual condi�ons where the pilots can maintain separa�on; and
    •    Controller monitoring and maintaining adequate aircra� separa�on by holding the departure un�l the
         arrival is on the ground.

At night, controller workload, heavy aircra� wake turbulence due to the nigh�me ﬂeet mix, and visibility limit the
tower’s ability to commit to the addi�onal eﬀort required to agree to ﬁxed heading assignments or targets.

A Review of FAA Sugges�ons to Address Headings Issue

In their May 3rd leter, the FAA suggested two alterna�ves to address the issue with the exis�ng proposal—either
remove ﬁxed headings en�rely (as was the case in all previous RRP tests) or set ﬁxed headings providing at least 30


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degrees of separa�on between departures and runways when parallel runways within 2,500’ are in use (as a
reminder, all RRP conﬁgura�ons that u�lize east-west parallel runways fall into this category).

The use of headings with 30-degree separa�on from the parallel approach runway nega�vely impacts the RRP
program's eﬃcacy. Firstly, doing this will direct south airﬁeld departures to the north and north airﬁeld departures
to the south, crea�ng overlapping areas of impact, an example of which is demonstrated in Figure 1 below.

The communi�es most impacted by these overlapping departures to the north and south would be Bensenville,
Wood Dale, and Itasca in West ﬂow opera�ons and Schiller Park, Norridge, Hardwood Heights, Park Ridge,
Rosemont, and Chicago Ward 41 in East ﬂow opera�ons. These communi�es are already most impacted by airport
opera�ons and need the most relief. This violates the ONCC RRP criteria of avoiding consecu�ve impacts, because
it will be impossible to keep north opera�ons to the north and south opera�ons to the south.




  Figure 1. Example of Impact of FAA Safety Headings with Required 30 Degree Separation Flown off
  Runways 27L and 28R
Addi�onally, turning aircra� over 20 degrees increases noise levels and popula�on impacted on the ground due to
aircra� ﬂight path dispersion. Heavy aircra� opera�ons are increasing at night. The LAEQ noise contour of the heavy
aircra� turning on 25-degree heading increases by 30 percent compared to a runway heading.

Maximizing compliance with the runway rota�on program is the only way to relieve impacted communi�es. To
achieve this, we recommend removing any reference to headings from the proposed rota�on program and leaving
the headings assignment to the tower's discre�on. As a reminder, none of the four RRP tests included designated
headings and they s�ll provided signiﬁcant relief and predictability to impacted communi�es.


                                                                                                                  3
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This approach will provide the tower the la�tude to operate the airﬁeld consistent with the safety requirements and
human resources available during nigh�me. The historic departure paterns of the diagonal dog leg oﬀ 22L and 290
heading oﬀ of 28R may be maintained if the aﬀected communi�es desire that and the tower agrees.

Revisi�ng the Impact of Alterna�ve B3 vs. H3 (which become B and H if headings are removed)

With the restric�ons laid out by the FAA in their May 3rd leter, the inherent unequal distribu�on of runway use in
Alterna�ve B3 becomes more prevalent. Without the ability to keep north runway departures to the north and
south departures to the south, or the opportunity to use mul�ple headings to spread impact from using a single
runway, the noise dispersion beneﬁts of Alterna�ve B are diminished signiﬁcantly.

Overﬂights oﬀ of each runway based on historical tower heading assignments (i.e., headings le� to tower discre�on)
demonstrate that Alterna�ve B would result in much higher overﬂights over already overburdened popula�ons than
Alterna�ve H, including Bensenville, Wood Dale, Itasca, Schiller Park, and Chicago Ward 41. Alterna�ve H has always
provided for the fairest distribu�on of opera�ons across all three parallel runways, maximizing periods of relief for
all communi�es. This was conﬁrmed by RRP Test 2, which scheduled the same runway use as proposed in Alterna�ve
H and demonstrated the highest use (s�ll only a maximum of 20%) of crosswind runways to provide relief for
communi�es impacted by the east-west parallel runways. Figures 2 and 3 below provide the es�mates of aircra�
arrivals and departures per runway for Alterna�ves B and H based on the average rate of compliance of crosswind
runway use in Test 2.




        Figure 2. Estimate of Aircraft Arrivals Per Runway for Alternative B and H Based on the Average
        Rate of Crosswind Runway Use in Test 2.

                                                                                                                   4
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        Figure 3. Estimate of Aircraft Departures Per Runway for Alternative B and H Based on the Average
        Rate of Crosswind Runway Use in Test 2.



Alterna�ve H provides for the fairest balance of runway use across the three sets of parallel runways as summarized
below:

                                                   Alterna�ve B     Alterna�ve H

        Crosswind Departures                            18%              27%

        North Parallel Departures                       41%             36.5%

        South Parallel Departures                       41%             36.5%



        Crosswind Arrivals                              18%             27%

        North Parallel Arrivals                         41%             36.5%

        South Parallel Arrivals                         41%             36.5%
                                                                                                                 5
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Furthermore, the North and South Parallel runways will include a larger ﬂeet mix of aircra�. So, not only will they
endure a higher number of departure and arrival opera�ons, but such opera�ons will include the loudest aircra�.

Addi�onally, the IFQ RRP EA found that the environmental jus�ce (EJ) outcomes of runway loadings most similar to
Alterna�ve H outperformed the EJ impacts of runway loadings similar to Alterna�ve B.

The basis of SOC's RRP advocacy has always been that all communi�es beneﬁ�ng from ORD should share equally in
the burden of aircra� noise generated by the airport. With the lowest frac�on of the weeks assigned to crosswind
runways use (i.e., 33%), Alterna�ve B will achieve no more than 16% use of the actual crosswind runways. Such an
uneven distribu�on of opera�ons unfairly burdens communi�es to the west and east of the airport.

It is �me to restore headings to the tower's total control and equally distribute the noise burden through the
appropriate assignment of runway use, which was the original intent of the RRP program.

The recent input from the FAA only reinforces that ATC views designa�ng or recommending headings as an
imposi�on on their ability to operate safely. Historical atempts to impose the will of ONCC on the tower by including
elements in RRP tests that the tower advised against have resulted in low compliance because the tower defaulted
to the same safety requirements they requested that the rota�on plans adhere to. Ul�mately, the tower’s
compliance with the RRP program is voluntary, because their primary responsibility is ensuring the safety of
opera�ons. For the RRP to be eﬀec�ve, then, it is important to ensure that compliance will not be unduly
burdensome or contrary to the tower’s requirements. Removing headings addresses these issues.



Recommenda�on: Submit Both Alterna�ves B3 and H3, with Headings Removed, to FAA for Review

While the tower oﬀers two op�ons to pursue going forward, we believe the no-heading op�on is the only
appropriate path forward, both in terms of the ability to provide noise relief and tower compliance.

Beyond the removal of headings, we believe strongly that the ONCC should go back to their original plan to send
two RRP proposals to the FAA for review. Both Alterna�ve B and H, with runway headings removed, should be
forwarded to the FAA for environmental review.

The CDA, ONCC, and FQ Commitee all have a ﬁduciary responsibility to move forward with the most responsible
alterna�ve to provide noise relief and minimize signiﬁcant noise impacts. The transparency of providing an actual
DNL footprint (which will be created during FAA environmental review) of both alterna�ves to determine the best
plan leaves all authori�es with everything to gain by endorsing the appropriate decision with ﬁrm data.

We recommend documen�ng the predicted noise contour of both alterna�ves to inform the selec�on of the best
alterna�ve to provide relief to all the communi�es. Failing to do so leaves all open to suspicion of picking favorites
or targe�ng any neighborhood but mine with no scien�ﬁc data to substan�ate the decision. The Fly Quiet Commitee
originally intended to forward mul�ple RRP proposals to the FAA review—this approach makes sense, as thus far,
the ONCC has only been able to make decisions about the proposals based on assump�ons, whereas the FAA review
will provide the actual data about impact. It is illogical and unnecessary to limit review to one proposal without
understanding the true impact of either.


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SOC Commitment to Providing Data to Ensure a Fair RRP

The ONCC and the FQ Commitee's ac�ons have demonstrated a repeated indiﬀerence to cri�cal data. Rather than
seeking to endorse their ac�ons with appropriate scien�ﬁc data on noise (a very complex phenomenon), their
ac�ons frequently led them to choose higher noise impact op�ons. Because SOC communi�es suﬀer the most from
higher impact choices, SOC has requested the AEDT model input ﬁles from the Terminal Area Plan EA from the FAA.
We are prepared to complete our own 65 DNL and environmental jus�ce analysis in parallel with the FAA of
Alterna�ve B and Alterna�ve H.

We intend to do this with complete transparency, including sharing our AEDT inputs and outputs with the FAA EA
team, CDA, and ONCC. In doing so, SOC con�nues to advocate for the fairest and data-informed RRP program for all
residents of the region. The rota�on was proposed ini�ally by SOC to CDA to relieve the overburdened popula�ons
on both ends of the 10/28 runways.

When there is no rota�on program, and the ATC is le� to its own devices, the airﬁeld opera�on has and likely always
will default to overburden West ﬂow and the 10/28 runways for all the right reasons of safety and human resources
but at the detriment of excessive noise concentra�on. SOC recognizes this is and has been an unfair burden on these
communi�es, and we intend to follow through on our pursuit of the fairest outcome.

Thank you for your considera�on.

Sincerely,


SUBURBAN O’HARE COMMISSION



    Craig B. Johnson, Chairman                          Nunzio Pulice, Vice-Chairman
    Mayor, Village of Elk Grove Village                 Mayor, City of Wood Dale


    Jeff Pruyn, Secretary/Treasurer                     Rich Veenstra
    Mayor, Village of Itasca                            Mayor, Village of Addison


    Frank DeSimone                                      John Loper
    President, Village of Bensenville                   Chief Transportation Planner, DuPage County


    George Busse                                        Rodney S. Craig
    Supervisor, Elk Grove Township                      President, Village of Hanover Park


    David Pileski                                       Nick Caiafa
    Mayor, Village of Roselle                           Mayor, Village of Schiller Park

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C:     ONCC Fly Quiet Commitee Members
       ONCC Members
       Jamie Rhee, CDA Commissioner
       Erik Amend, FAA Regional Administrator, Great Lakes Region
       Sean Doyle, FAA Deputy Regional Administrator, Great Lakes Region
       Steve Ritchey, FAA General Manager TCAU, Chicago District
       Patrick Wells, Deputy Assistant Chief Counsel, FAA Oﬃce of the Chief Counsel
       SOC Board




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                             EXHIBIT C
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                 SUBURBAN O’HARE COMMISSION
   Nunzio Pulice                         Craig B. Johnson                      Jeffrey Pruyn
   Vice-Chairman                           Chairman                         Secretary-Treasurer

       Addison, Bensenville, DuPage County, Elk Grove Village, Elk Grove Township
                 Hanover Park, Itasca, Roselle, Wood Dale, Schiller Park


August 8, 2023

Mr. Ni�n Rao
Community Engagement Oﬃcer (CEO), Congressional Liaison
Great Lakes Regional Administrator’s Oﬃce
Federal Avia�on Administra�on
Ni�n.Rao@faa.gov

Re: Proposed Alterna�ve for FAA Considera�on re Redeveloped Fly Quiet Program at O’Hare Airport

Dear Mr. Rao:

In furtherance of my email to you on July 31, 2023, the Suburban O’Hare Commission (SOC) respec�ully
requests that the FAA consider Alterna�ve H (described below) when comple�ng its NEPA-required
environmental analysis for the redeveloped Fly Quiet Program at Chicago O’Hare Interna�onal Airport. As
you are aware, nearly all the communi�es represented by SOC are con�guous to O’Hare. As a result, SOC
represents most of the popula�on within the present and future 65 DNL boundaries.

Because SOC represents the most signiﬁcantly impacted communi�es, it organized a world-class team to
study and make recommenda�ons on how to fairly and eﬀec�vely distribute nigh�me noise caused by
opera�ons to and from O’Hare. SOC funded repeated studies to iden�fy and evaluate 21 noise mi�ga�on
recommenda�ons and presented those ﬁndings to the O’Hare Noise Compa�bility Commission (ONCC).
Over the past eight years, SOC has partnered with the Chicago Department of Avia�on (CDA) and ONCC
to implement many of these recommenda�ons. Of the 21 recommenda�ons studied and considered, the
runway rota�on program currently being evaluated provides the most relief to the most aﬀected
communi�es.

On July 27, 2023, the CDA submited its renewed request that the FAA complete an environmental analysis
for O’Hare’s redeveloped Fly Quiet Program. The CDA’s proposal requested that the FAA consider only one
alterna�ve during its review: Alterna�ve B3. SOC believes that NEPA requires the FAA to consider all
proposed, reasonable alterna�ves, and thus SOC formally requests that the FAA, as part of its
environmental analysis, (i) complete a heading sensi�vity analysis and (ii) analyze Alterna�ve H in
addi�on to Alterna�ve B.

As set forth below, SOC is prepared to provide the FAA with all informa�on and suppor�ng data that the
FAA needs to ensure that Alterna�ve H is considered alongside Alterna�ve B. SOC believes—a�er
reviewing several expert analyses—that Alterna�ve H is the only op�on that meets all the requirements




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that the ONCC developed for the Fly Quiet Program while also providing periods of relief to all residents
near the airport.

This document outlines SOC’s request that the FAA analyze Alterna�ve H and complete a heading
sensi�vity analysis to maximize compa�ble land use within the 65 DNL corridors.

    I.      The FAA Should Conduct a Heading Sensitivity Analysis Regardless of Whether Alternative H
            Is Reviewed

The op�mal runway rota�on program should provide periods of relief to overburdened communi�es while
also minimizing signiﬁcant environmental impacts. To achieve this result, the FAA must evaluate the Fly
Quiet Program’s preferen�al noise abatement departure headings to analyze the noise contour increase
given the nigh�me penalty factor of 10 applied to each nigh�me ﬂight track. For example, the image
below shows the contour lobes created by the 20-degree heading to the north (290 degrees; the yellow
box on the le� in the image below) on RWY 28 R and the 40-degree heading to the south (180 degrees;
the yellow box on the botom in the image below) on RWY 22L in comparison to the RWY heading contour
on RWY 10L with no lobes. As demonstrated, a heading sensi�vity analysis is cri�cal to understanding and
minimizing the environmental impacts stemming from a redeveloped Fly Quiet Program.




    II.     The FAA Should Analyze Alternative H

In addi�on to a heading sensi�vity analysis, a comparison of Alterna�ve B and Alterna�ve H shows that
Alterna�ve H should be included in the FAA’s review. Alterna�ve H is feasible, reasonable, and superior to
Alterna�ve B. Both Alterna�ves include the same six runway conﬁgura�ons Q, M, L, O, P, and I, but
Alterna�ve H u�lizes crosswind runways more fairly. Alternative H alternates fairly between North and
South Airfield, East and West flow and Northeast and Southwest flow (diagonal runways) to maximize
periods of relief for all communities.




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Indeed, the primary diﬀerence between Alterna�ve B and Alterna�ve H is runway loading, a
straigh�orward modiﬁca�on in the AEDT modeling process. Alterna�ve H provides for the fairest balance
of runway use across the three sets of parallel runways, as summarized in the table below:

                      Conﬁgura�on                 Alternative B Alternative H
                      Crosswind Departures            18%            27%
                      North Parallel Departures       41%           36.5%
                      South Parallel Departures       41%           36.5%

                      Crosswind Arrivals              18%             27%
                      North Parallel Arrivals         41%             41%
                      South Parallel Arrivals         41%            36.5%




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    III.       Considera�on of Alterna�ve H Promotes an Eﬃcient and Eﬀec�ve Environmental Review
               Process

Several key factors further support the FAA including Alterna�ve H as part of the detailed noise analysis
completed during the environmental analysis. The analysis will allow the FAA to determine the preferred
runway rota�on schedule and heading alterna�ve that maximizes relief periods and minimizes signiﬁcant
impact contours, including but not limited to:

    •      The FAA/CDA have invested over $200M in sound insula�on at over 10,000 homes to address
           incompa�ble land use at O’Hare. Aggressive heading assignments, as contemplated in Alterna�ve
           B3, direct aircra� outside compa�ble land-use areas over homes without sound insula�on.
    •      Diagonal parallel runways are historically under-u�lized, and east/west parallel runways are over-
           u�lized at night. Alterna�ve B would con�nue this disparity.
    •      Scheduled diagonal runway use does not accurately predict actual runway use (due to runway
           length, weather, or other factors). On average, runway rota�on tests demonstrated only 14% of
           heavy aircra� departures operated on diagonal runways when the crosswind runways were
           designated primary or secondary runways. Similarly, only 24% of heavy aircra� arrivals used
           crosswind runways during the runway rota�on program when the crosswind runways were
           designated primary or secondary runways.
    •      Industry may prefer addi�onal use of the diagonal parallel runways due to their proximity to the
           cargo quadrant.
    •      Runway Rota�on Program Test 2 (RRP2) resulted in the fairest distribu�on of aircra� opera�ons
           across all runways. Alterna�ve H’s schedule is the same as RRP2.
    •      Nigh�me opera�ons have ten �mes the impact of day�me opera�ons on the DNL contour.
    •      35% of all O’Hare Fly Quiet hour departures are heavy jet aircra�.
    •      Turning aircra� make more noise and increase the size of the noise contours.
    •      The increased noise contours for turning aircra� are further exacerbated when considering heavy
           aircra�—for example:




                                                                                                           4
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          o    The noise contour of a long-haul Boeing 747-8F ﬂying a runway heading aﬀects 243%
               more people than the most popular aircra� (Boeing 737-800) at the same noise level
               (LMAX 70 dBA).
           o The noise contour of a long-haul Boeing 747-8F ﬂying 20 degrees from a runway heading
               aﬀects 412% more people than the most popular aircra� (Boeing 737-800) at the same
               noise level (LMAX 70 dBA).
   •   Turning aircra� climb slower and extending �me exposure to noise.




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The FAA Interim Fly Quiet Re-Evalua�on modeled two scenarios with similar runway loadings as B and H. The
scenario most similar to H provided the most relief with less signiﬁcant impact than the scenario most similar to
B. Addi�onally, the runway loading most similar to H proved to have a beter environmental jus�ce outcome than
the runway loading scenario most similar to B. Dr. Antonio Trani—an expert retained by SOC who also regularly
works with the FAA—expects this disparity to increase with the preferred assignment of aggressive headings as
currently contemplated in the CDA Fly Quiet Program proposal.




    IV.     SOC Will Provide the FAA With Expert Analyses to Assist in the NEPA Review

SOC is currently preparing contours in AEDT to show the predicted noise impact for both Alterna�ve B and
Alterna�ve H (with no preferen�al headings). This will be accomplished by modeling TAP EA ﬂight tracks with
Alterna�ve B and H runway conﬁgura�ons, schedules, and es�mated runway u�liza�on per average performance
of the four runway rota�on program tests. Upon comple�on, SOC will provide this analysis to the FAA.

SOC is also preparing contours in AEDT to show the predicted noise impact based on three diﬀerent preferen�al
noise abatement departure headings as applied to Alterna�ve B and H. This will be done by modeling TAP EA ﬂight
tracks with Alterna�ve B and H runway conﬁgura�ons, schedules, and es�mated runway u�liza�on per average
performance of the four runway rota�on programs tests to date, including a heading sensi�vity analysis. The
following three addi�onal sets of contours will be generated as part of this analysis:

    A. East/West Parallel runways with RWY heading and 10-degree (north to north and south to south) headings
       and Diagonal runways with dogleg departures as proposed.
    B. East/West Parallel runways with 10-degree and 20-degree heading (north airfield to north and south
       airfield to south) and Diagonal runways with dogleg departures as proposed.
    C. East/West Parallel runways with headings as defined in Alternative B3 and H3.



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      V.       SOC Is Confident Alternative H Is Superior and Appreciates the FAA’s Review of This Alternative

SOC’s technical experts have closely analyzed O’Hare’s noise environment throughout the four runway
rota�on tests and have a very high degree of conﬁdence that the Alterna�ve H rota�on schedule paired
with the most responsible heading assignments (those producing the smallest 65 DNL contour) provide
the most periods of relief to all residents while maximizing compa�ble land use and best environmental
jus�ce outcome.

Please conﬁrm that the FAA will analyze Alterna�ve H in addi�on to Alterna�ve B, in conjunc�on with a
heading sensi�vity analysis and corresponding environmental jus�ce analysis, to determine the most
environmentally responsible preferred alterna�ve.


           Sincerely,



           Mayor Craig B. Johnson
           SOC Chairman


CC:        SOC Board




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Table 1 Alterna�ve B3 Summary1




       1
       The FAA, at its sole discretion, can deviate from the preferential noise abatement runways and departure
       ﬂight paths to maintain safe conditions.



Table 2 Alterna�ve H3 Summary1




       1
       The FAA, at its sole discretion, can deviate from the preferential noise abatement runways and departure
       ﬂight paths to maintain safe conditions.




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      Exhibit 3   Alterna�ve H3 Overview1




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      Exhibit 4   Alterna�ve H3 Runway Rota�on Schedule




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